             Case 2:11-cr-00134-WBS Document 186 Filed 01/06/14 Page 1 of 2


     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4
     Attorney for Defendant
 5
     FRED PINEDA
 6
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                      )       No. CR-S-11-134-JAM
 9
                                                    )
                                                    )
10          Plaintiff,                              )       STIPULATION AND
                                                    )       ORDER CONTINUING JUDGMENT
11
     v.                                             )       SENTENCING
                                                    )
12
     FRED PINEDA,                                   )       February 11, 2014
                                                    )       Time: 9:45 a.m.
13
                                                    )       Judge: John A. Mendez
            Defendant.                              )
14
                                                    )
                                                    )
15
                                                    )
16

17

18          The parties hereby stipulate the following:
19          1. Judgment and sentencing in this matter is presently set for January 28, 2014. Counsel
20              for the parties request the date for judgment and sentencing be continued to
21              February 11, 2014 at 9:45 a.m. Counsel for Mr. Pineda needs additional time to meet
22              with Mr. Pineda, review the PSR; discuss the findings and recommendations therein;
23              and, research and draft informal objections as necessary. Assistant U.S. Attorney
24              Michael Beckwith and USPO Ronnie Preap have been advised of this request and
25              have no objection. The parties requests the Court adopt the following schedule
26              pertaining to the presentence report:
27
                Judgment and Sentencing date:                                       2/11/14
28
                Reply, or Statement of Non-Opposition:                              2/4/14


                                                        1
             Case 2:11-cr-00134-WBS Document 186 Filed 01/06/14 Page 2 of 2



 1
               Motion for Correction of the Presentence Report
 2             Shall be filed with the Court and served on the
               Probation Officer and opposing counsel no later than:         1/28/14
 3
               The Presentence Report shall be filed with the Court
 4
               And disclosed to counsel no later than:                       1/21/14
 5
               Counsel’s written objections to the Presentence Report
 6             Shall be delivered to the probation officer and opposing
 7
               Counsel no later than:                                        1/14/14

 8

 9      IT IS SO STIPULATED.
10   Dated: January 2, 2014                                     /s/ John R. Manning
11
                                                               JOHN R. MANNING
                                                               Attorney for Defendant
12                                                             Fred Pineda
13

14   Dated: January 2, 2014                                    Benjamin B. Wagner
                                                               United States Attorney
15
                                                        by:    /s/ Michael Beckwith
16
                                                               MICHAEL BECKWITH
17                                                             Assistant U.S. Attorney

18

19
                                                ORDER

20
            IT IS SO FOUND AND ORDERED this 6th day of January, 2014.
21

22                                                      /s/ John A. Mendez____________
23
                                                        HON. JOHN A. MENDEZ
                                                        U.S. DISTRICT COURT JUDGE
24

25

26

27

28




                                                    2
